Case 18-13868-JDW        Doc 122    Filed 03/31/22 Entered 03/31/22 13:21:28           Desc Main
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 ____________________________________________________________________________
                                                    SO ORDERED,




                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


        The Order of the Court is set forth below. The case docket reflects the date entered.
 ____________________________________________________________________________



                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT MISSISSIPPI

 IN RE: DARRELL L. BRADLEY                                            CHAPTER 13
       LATONYA PEGUES

 DEBTORS                                                              CASE NO. 18-13868-JDW

              ORDER ON MOTION TO INCUR INDEBTEDNESS [DKT. #108]

        THIS CAUSE came before the Court upon the Debtors’ Motion for permission to borrow

 money for the purpose of obtaining a vehicle, and it appearing unto the Court that no timely

 responses have been filed, the Motion is due to be granted.

        IT IS THEREFORE ORDERED that Debtors are granted permission to obtain financing

 for a vehicle in the amount of $15,000.00 for the purchase of a reliable vehicle. Payments on the

 indebtedness shall not exceed $400.00 per month, with all payments to be made outside the plan.

                                      #ENDOFORDER#
 Submitted by:

 /s/ Karen B. Schneller
 KAREN B. SCHNELLER, MSB 6558
 ROBERT H. LOMENICK, JR., MSB 104186
 SCHNELLER & LOMENICK, P.A.
 126 NORTH SPRING STREET
 P.O. BOX 417
 HOLLY SPRINGS, MS 39635
 662-252-3224/karen.schneller@gmail.com
 ATTORNEY FOR DEBTOR
